                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE



Rick Savage individually and on            )
behalf of Two Brothers, LLC d/b/a          )
Sunday River Brewing Company,              )
                                           )
Mike Mercer, of Cumberland                 )
County, State of Maine,                    )
                                           )
James Fahey, of Cumberland                 )
County, State of Maine,                    )
                                           )
Lindsey Crosby, of Cumberland              )
County, State of Maine,                    )
                                           )      CIVIL ACTION NO. 1:20-cv-00165
Individually and on Behalf of All          )
Other Identified Class Members,            )
                                           )
                            Plaintiffs     )
v.                                         )
                                           )
Janet T. Mills, Governor                   )
State of Maine                             )
                                           )
                            Defendant      )

 CLASS AND COLLECTIVE ACTION SECOND AMENDED COMPLAINT
                 (JURY TRIAL DEMANDED)


      NOW COME the Plaintiﬀs, Rick Savage individually and on behalf of Two

Brothers, LLC d/b/a Sunday River Brewing Company, Mike Mercer, James Fahey, and

Lindsey Crosby (collectively, “the Named Plaintiffs”), by and through their counsel,

and allege the following on behalf of themselves and those similarly situated.




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                                        INTRODUCTION

       1.       In 1934, the Supreme Court warned:

       Emergency does not create power. Emergency does not increase granted
       power or remove or diminish the restrictions imposed upon power granted or
       reserved. The Constitution was adopted in a period of grave emergency. Its
       grants of power to the federal government and its limitations of the power of
       the States were determined in the light of emergency, and they are not altered
       by emergency.

       Home Building & Loan Assn. v. Blaisdell, 290 US 398, 425 (1934).

       2.       Governor Mills has issued executive orders that have closed down Maine civil
society, effectively placed 1.2 million people under house arrest, and taken jobs away from
hundreds of thousands of people, all without due process of law. She has also directly and
palpably interfered with interstate commerce by ordering that all people entering
Maine from another State must be quarantined for 14 days, regardless of whether they
have any illness.

       3.       The Governor’s initial Executive Order was premised on the perceived need
to “flatten the curve” to avoid overwhelming the State’s hospitals and healthcare centers,
not   to    eradicate    the   virus.      Although      the   curve   has   been   flattened,
https://www.pressherald.com/2020/04/18/hospitalizations-in-much-of-maine-have-
flattened-or-decreased-over-past-week/, the Governor has nonetheless continued in
place executive orders that unreasonably and unnecessarily interfere with Plaintiﬀs’
constitutional rights.

       4.       Governor Mills’ executive orders are unprecedented. For the first time in
Maine’s history, the State is mass quarantining people who have no indication that they
are or may become sick. Such actions unlawfully interfere with rights guaranteed by
the Maine constitution, which guarantees citizens’ “inherent and unalienable rights,

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among which are those of enjoying and defending life and liberty, acquiring,
possessing and protecting property, and of pursuing and obtaining safety and
happiness.” Me. Const. art. I, § 1

       5.         The Named Plaintiffs are affected by the Governor’s orders. Under threat of
criminal penalties, they have been forced to close or significantly restrict their businesses,
depriving them of their liberty and property interests without due process.

       6.         Through her overbroad and unnecessary Executive Orders, the Governor
has unilaterally suspended the civil liberties of Maine citizens and residents, as well as
those travelling to Maine from other States.

       7.         Federal and State constitutions confine governmental action and thereby
preserve individual liberty. Constitutional protections are not suspended in the face of a
pandemic or other public emergency.

       8.         The Named Plaintiffs seek a judicial declaration that the executive orders
keeping people in their homes and away from their businesses, the fourteen-day quarantine
requirement, and all related orders, rules, and enforcement activity, are unconstitutional under
the Dormant Commerce Clause, the Privileges and Immunities Clauses of Article IV and
the Fourteenth Amendment, the Due Process and Equal Protection Clauses of the Fourteenth
Amendment, the Maine Constitution and Maine statutes.

                                          PARTIES

       9.        Plaintiff Rick Savage is an owner of Sunday River Brewing Company whose
 business has been severely impacted by the Defendant’s arbitrary and capricious
 restrictions.



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      10.     Two Brothers, LLC d/b/a Sunday River Brewing Company is a business that
 has been severely impacted by the Defendant’s arbitrary and capricious restrictions.


      11.     Plaintiff James Fahey is a wedding disc jockey whose business has been
 destroyed by the Defendant’s arbitrary and capricious restrictions.


      12.     Plaintiff Mike Mercer is a security consultant whose business has been
 severely affected by the Defendant’s arbitrary and capricious restrictions.


      13.     Plaintiff Lindsey Crosby is the owner of Harper Method Hair, LLC in South
 Portland. Plaintiff owns a hair salon which hosts six hairdressers and is being forced to
 operate at half capacity under the Defendant’s arbitrary and capricious restrictions.


      14.     Defendant Janet T. Mills is the Governor of the State of Maine. Plaintiﬀs
 sue her in her oﬃcial capacity only.


                                    JURISDICTION

      15.      This action challenges Governor Mills’ Executive Orders 14 FY 19/20 19 FY

19/20; 28 FY 19/20, 34 FY 19/20, and 49 FY 19/20 (and future iterations of these orders)

(all collectively, the “Executive Orders”), which the Named Plaintiffs believe violate

multiple provisions of the Constitution of the United States. The Court therefore has

federal-question jurisdiction under 28 U.S.C. § 1331.


      16.      The Named Plaintiffs seek declaratory relief , a permanent injunction, and

monetary damages relating to the Executive Orders.



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      17.      The Named Plaintiffs also challenge the Executive Orders as a violation of

the separation-of-powers established in Article III of the Maine Constitution and a

violation of Title 37-B of Maine’s Revised Statutes. The Named Plaintiffs further

challenge the constitutionality of Title 37-B, Chapter 13 of Maine’s Revised Statutes.


      18.      Accordingly, t he Named Plaintiffs also invoke the Court’s supplemental

jurisdiction under 28 U.S.C. § 1367.


                                        VENUE

      19.      Governor Mills is a resident of, and the principal oﬃce of the Governor is
located in, Augusta, Maine.

      20.      A substantial part of the events giving rise to the claims in this Complaint
occurred in Augusta Maine.

      21.      The city of Augusta is the seat of government for the State of Maine. It is
located within Kennebec County, which is within the territorial jurisdiction of this Court.
This Court is therefore a proper venue for this action under 28 U.S.C. § 1391(b)(1)-(2).

                               EXECUTIVE ACTIONS

      22.      On March 15, 2020, Governor Mills proclaimed a State of Emergency to
authorize the use of emergency powers in response to Covid-19

      23.      On March 18, 2020, Governor Mills issued Executive Order 14 FY 19/20,
which banned gatherings of more than 10 people and required restaurants and bars to
close except for carry out and delivery service.




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       24.      On March 24, 2020, Governor Mills issued Executive Order 19 FY 19/20,
which divided Maine businesses into “essential” and “non-essential” businesses. It further
ordered non-essential businesses to “cease activities at sites that are public facing and
thereby allow customer, vendor or other in-person contact; or are at sites that require more
than 10 workers to convene in space where social distancing is not possible.” The Order
further stated that “non-urgent medical and dental procedures, elective surgeries, and
appointments should be postponed based on consultations between individuals and
providers.”

       25.      On March 31, 2020, Governor Mills issued Executive Order 28 FY 19/20.
That order required all persons in Maine to stay at home except when performing “essential
activities.”     It further required people to stay 6 feet apart when outside the home,
restricted the use of public transportation except as “absolutely necessary,” restricted private
vehicles to members of the same household, set social distancing rules for essential
businesses, and continued school closures that had already been implemented. The Order
states that “violations are a class E crime subject to up to six months in jail
and a $ 1000 fine.”

       26.      On April 3, 2020, the Governor issued Executive Order 34 FY 19/20. That
order requires that “any person, resident or non-resident, traveling into Maine must
immediately self-quarantine for 14 days.” The Order also closed hotels and other lodging
facilities except for:

                a. Housing vulnerable populations, including children in emergency
                   placements, persons at risk of domestic violence, and homeless
                   individuals as permitted by the State.

                b. Providing accommodations for health care workers, or other workers
                   deemed necessary to support public health, public safety or critical
                   infrastructure.


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               c. Use of lodging properties as self-quarantine or self-isolation facilities as
                  arranged by the State.

               d. Limited verifiable extenuating circumstances for the care and safety of
                  residents as otherwise approved by the State.

 The Order further provides that “A violation of this Order may be charged as a Class E

 crime subject to a penalty of up to six months in jail and a $1,000 fine.


       27.     On April 29, 2020, the Governor issued Executive Order 49 FY 19/20. This
order extended the effective dates of all of the above executive orders through May 31,
2020. The Order also purported to incorporate a “Restarting Plan” that would ease
restrictions on businesses at the discretion of the Department of Economic and
Community Development. The “Restarting Plan” is a 14-page booklet that sets forth
stages when businesses may reopen, provided they comply with detailed checklists.

       28.     Under Stage One of the Restarting Plan, which governs through May 31,
the following businesses may reopen provided they comply with detailed checklists:

             Drive-in theaters

             Health care

             Golf Courses and Disc Golf Courses, with restrictions

             Guided outdoor activities (Hunting, Fishing)

             Guided boating (10 or fewer customers)

             Marinas

             Barber Shops and Hair Salons

             Dog Grooming

             Limited drive-in, stay-in-your-vehicle church services

             Auto Dealership Sales

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             Car Washes

The 14-day quarantine requirement and ban on gatherings of more than 10 people will
remain in effect.

       29.     Under Stage Two, which covers the month of June, the following may
reopen if they follow detailed checklists:

             Auto Dealership Sales

             Restaurants

             Lodging

             Campgrounds/RV parks

             Day camps

             Fitness and Exercise Gyms

             Nail Technicians

             All retail businesses

The 14-day quarantine requirement will remain in effect, and there is a ban on gatherings
of more than 50 people.

       30.     Under Stage Three, which will cover July and August, the following may
reopen:

             Bars

             Lodging

             Charter boats, excursions – fewer than 50 people

             State Park Campgrounds

             Summer Camps


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             Spas

             Tattoo and Piercing Parlors

             Massage Facilities

             Cosmetologists and Estheticians

             Electrolysis Services

             Laser Hair Removal Services, and Similar Personal Care and Treatment
              Facilities and Services

The ban on gatherings of more than 50 people and the 14-day quarantine requirement

remain in effect.


       31.    Stage 4 purports to permit all businesses to open “with appropriate safety

modifications.” The plan does not specify when Stage 4 will be implemented or whether

the quarantine requirement and restrictions on gatherings will remain in effect.


       32.    On May 8, 2020, the Governor announced a “Rural Reopening Plan” that

allows retail stores and restaurants in twelve counties to reopen subject to “enhanced

safety precautions.” The Plan further allows remote campsites as well as sporting camps

to reopen with “public health safeguards.”


                             GENERAL ALLEGATIONS

       33.     Although the coronavirus is highly contagious, it does not invariably result
in COVID-19. For those who do develop COVID-19, the mortality rate is low. As of
May 4, 2020, the State reported on its oﬃcial coronavirus webpage 1226 suspected or
confirmed cases of COVID-19, which is roughly 0.09% of the State population. Even for
the known fractional percent of those who have developed COVID-19, the State reports a


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95% survival rate. As a result, only 0.005% of the State’s population has succumbed to the
virus.

         34.      In all likelihood, the survival rate in Maine is far higher. Recent antibody
testing conducted in New York State and a study in Los Angeles suggest that millions more
have been infected with the coronavirus than previously known, and that the supermajority
of those previously infected were either asymptomatic or experienced mild reactions to it. In
New York, this new information has dropped the mortality rate to 0.5%—i.e., a survival rate of
99.5%. In Los Angeles, it dropped the mortality rate to 0.1–0.3%—i.e., a survival rate of 99.7–
99.9%. There is no reason to believe that Maine is exempt from this good news. As more
Maine residents are tested, increases in positive tests will yield a higher survival rate.

         35.      The number of deaths caused by COVID-19, while unquestionably tragic,
is not “unprecedented,” as routinely claimed. What is unprecedented is Governor Mills’
response to it.

         36.      In the late 1960s, the Hong Kong Flu swept across the globe killing more
than 1 million people. The CDC estimated that 100,000 people died in the U.S. Maine,
like other States, was aﬀected. Governor Kenneth Curtis did not place residents under
house arrest or shutdown the economy.

         37.      Governor Mills repeatedly states that decisions must be made on data. Yet,
despite the positive State-specific data, the Governor has tightened restrictions through further
executive orders.

         38.      An economic depression is predictable following the shutdown of civil society
caused by the Executive Orders. Businesses around Maine are permanently closing because
they cannot pay employees and vendors. More will be forced to permanently close the longer
that the Executive Orders and any similarly drafted successor orders are in place.
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       39.      Plaintiﬀs want to reopen their businesses, but Governor Mills forbids them
from doing so under pain of criminal punishment and civil fines. Plaintiﬀs should not be
forced to choose between risking criminal prosecution and economic sanctions on the one
hand, or exercising their constitutional rights on the other.

                            CLASS ACTION ALLEGATIONS

       40.      The Named Plaintiffs commence this class action pursuant to Federal Rule
of Civil Procedure 23 on behalf of the following Class: The named Plaintiffs and over 20
identified Maine businessowners, businesses, customers, and employees adversely
impacted by the Governor’s executive orders, the partial shutdown of the State, and the
mass quarantine of its citizens.

       41.      Subject to additional information obtained through further investigation and
discovery, the foregoing definition of the Class may be expanded or narrowed by
amendment. Excluded from the Class are any judicial officers presiding over this matter,
the law firm of Lipman & Katz and the members of their immediate families and judicial
staff as well as Class counsel.

       42.      Numerosity: The proposed Class is so numerous that joinder of all members
is impracticable and the disposition of their claims as a Class will benefit the parties and
the Court. Counsel for the Named Plaintiffs indicates that it has received over one-hundred
calls from individuals impacted by the Executive Orders and who are seeking to join the
proposed class.

       43.      Commonality and Predominance: There are questions of law and fact
common to the Class that predominate over any questions affecting only individual Class
members, including but not limited to:


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     Whether the Executive Orders violate the State and Federal Constitution,
        respectively;

     Whether the COVID-19 outbreak constitutes a pandemic;

     Whether the State statute referenced and relied upon in the Executive Orders, Title
        37-B, Ch. 13, is itself unconstitutional;

     Additional common questions of law and fact as developed during the discovery
        phase of this litigation.

       44.     Typicality: The Named Plaintiffs’ claims are typical of the claims of the
Class, as such claims could be alleged by any member of the Class, and the relief the
Named Plaintiffs seek is typical of the relief that Class members seek. All class members
are subject to the Executive Orders, and all have been adversely impacted by said orders.

       45.     Adequacy: The Named Plaintiffs can fairly and adequately protect the
interests of the Class and have no interests adverse to the Class. At all relevant times, the
Named Plaintiffs and Class members are and have been similarly situated. The Class
representatives and their chosen attorneys are familiar with the subject matter of the
lawsuit, have full knowledge of the allegations contained in this amended complaint, and
can prosecute this matter. In addition, the representative’s attorneys are competent in the
relevant areas of the law and have sufficient experience to vigorously represent the Class.
Furthermore, the resources available to Class counsel ensure that the litigation will not be
hampered by a lack of financial capacity. The Named Plaintiffs’ attorneys have sufficient
financial resources and are willing to absorb the costs of the litigation.

       46.     Superiority: Prosecution of separate actions by individual members of the
Class would create a risk of inconsistent and/or varying adjudications with respect to the

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individual members of the Class.      As mentioned above, the constitutionality of the
Executive Orders, and State statute relied upon in the Executive Orders, are the focus of
all Class members.     Accordingly, the Class members do not have any interest in
individually controlling the prosecution or defense of separate actions.

       47.     Ascertainability:    The Class members are readily ascertainable as
individuals, businesses, employees and customers that have been impacted by the
Executive Orders.

                  COUNT I – DORMANT COMMERCE CLAUSE

       48.     The Named Plaintiffs and the Class members incorporate by reference
the allegations in paragraphs 1-47 above as if fully set forth in this paragraph.

       49.     The Commerce Clause of the U.S. Constitution grants Congress the power
“[t]o regulate commerce with foreign Nations, among the several States, and with the
Indian Tribes.” U.S. Const. art. I, § 8, cl. 3.

       50.     In addition to providing an affirmative grant of power to Congress, the
Commerce Clause has long been understood to restrict States in regulating interstate
commerce. This aspect of the Commerce Clause is sometimes referred to as the “Dormant
Commerce Clause.” The Dormant Commerce Clause precludes States from enacting
legislation that discriminates against or impermissibly burdens interstate commerce. State
laws that facially discriminate against interstate commerce are invalid per se under the
Commerce Clause. This is true also of State laws that are facially neutral, if they
impermissibly burden interstate commerce in practice. West Lynn Creamery v. Healy, 512
U.S. 186, 194–195 (1994).




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       51.     Although the Dormant Commerce Clause is usually invoked to challenge
protectionist laws that favor in-state businesses over out-of-state businesses, the Clause
has a broader function: to guarantee for all citizens the right to access and participate in
interstate commerce.     Just as no State can prevent out-of-staters from engaging in
commerce with its residents, no State may prevent its residents from participating in
commerce with those located in another State.

       52.     The Executive Orders impermissibly restrict Plaintiﬀs and their
customers from exercising the right to engage in interstate commerce. The quarantine
requirement, in particular, both discriminates against interstate commerce and unreasonably
burdens interstate commerce.

       53.     Governor Mills acted under color of State law in an oﬃcial capacity and
within the scope of her oﬃcial duties when issuing the Executive Orders.

       54.     Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected the Named Plaintiffs to a deprivation of their rights, privileges
and immunities secured by the Constitution of the United States and is therefore liable to
them in this action.

       55.     The Named Plaintiffs and Class members seek a declaration that the
Executive Orders violate the Dormant Commerce Clause, and a permanent injunction
against further infringements of their rights under this Clause as described in the Prayer
for Relief.



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             COUNT II – PRIVILEGES AND IMMUNITIES CLAUSE
                           OF ARTICLE IV, § 2

       56.      The Named Plaintiffs and Class members incorporate by reference
paragraphs 1 through 55 above as if fully set forth in this paragraph.

       57.      The Privileges and Immunities Clause of Article IV of the U.S.
Constitution provides that “[t]he citizens of each State shall be entitled to all privileges
and immunities of citizens in the several States.” U.S. Const. art. IV, § 2, cl. 1.

       58.      The Privileges and Immunities Clause protects a citizen’s right to pursue a
livelihood in a State other than the State in which he is a resident. Baldwin v. Fish & Game
Comm’n of Montana, 436 U.S. 371 (1978).

       59.      The Executive Orders impermissibly restrict the Named Plaintiffs and
Class members from exercising these rights.

       60.      Governor Mills acted under color of State law in an oﬃcial capacity and
within the scope of her oﬃcial duties when issuing the Executive Orders.

       61.      Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected the Named Plaintiffs and Class members to a deprivation of
their rights, privileges and immunities secured by the Constitution of the United States and
is therefore liable to them in this action.




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       62.      Named Plaintiffs and Class members seek a declaration that the Executive
Orders violate the Privileges and Immunities Clause, and an injunction against further
infringements of their rights under this Clause as described in the Prayer for Relief.




               COUNT III – PRIVILEGES OR IMMUNITIES CLAUSE
                    OF THE FOURTEENTH AMENDMENT

       63.      The Named Plaintiffs and Class members incorporate by reference
paragraphs 1 through 62 above as if fully set forth in this paragraph.

       64.      The Privileges or Immunities Clause of the Fourteenth Amendment to the
U.S. Constitution provides that “[n]o State [can] make or enforce any law [that] abridge[s]
the privileges or immunities of citizens of the United States.” U.S. Const. am. XIV, §
1, cl. 2.

       65.      The right to travel between States is a privilege of federal citizenship.

       66.      The right to engage in interstate commerce is also a privilege of federal
Citizenship.

       67.      The Executive Orders impermissibly restrict the Named Plaintiffs and
Class members, and their customers, from exercising these rights. The quarantine
requirement, in particular, unreasonably restricts the right to travel to Maine.

       68.      Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the




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Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress.

       69.      Governor Mills acted under color of State law in an oﬃcial capacity and
within the scope of their oﬃcial duties when issuing the Executive Orders.

       70.      Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected the Named Plaintiffs and Class members to a deprivation of
their rights, privileges and immunities secured by the Constitution of the United States and
is therefore liable to them in this action.

       71.      The Named Plaintiffs and Class members seek a declaration that the
Executive Orders violate the Privileges or Immunities Clause, and an injunction against
further infringements of their rights under this Clause as described in the Prayer for Relief.

                     COUNT IV PROCEDURAL DUE PROCESS

       72.      The Named Plaintiffs and Class members incorporate by reference
paragraphs 1 through 71 above as if fully set forth in this paragraph.

       73.      The Due Process Clause of the Fourteenth Amendment to the U.S.
Constitution provides that no State can “deprive any person of life, liberty, or property,
without due process of law.” U.S. Const. amend. XIV, § 1, cl. 3.

       74.      The procedural component of the Due Process Clause prohibits government
from depriving the Named Plaintiffs and Class members of liberty and property interests
without providing any process before or after the deprivations occurred.

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       75.      To establish a procedural due process claim under 42 U.S.C. § 1983, a
plaintiﬀ must show that (1) it had a life, liberty, or property interest protected by the Due
Process Clause; (2) it was deprived of this protected interest; and (3) the state did not aﬀord
it adequate procedural rights.

       76.      The Named Plaintiffs and Class members have a protected liberty interest
in the right to live without arbitrary governmental interference and to operate their
businesses.

       77.      The Named Plaintiffs and Class members have protected liberty and
property interests that Defendant has infringed through the Executive Orders.

       78.       Governor Mills has not provided any procedural due process before issuing
the Executive Orders. Nor do the Executive Orders provide any mechanism for post-
deprivation review.

       79.      Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected the Named Plaintiffs and Class members to a deprivation of
their rights, privileges and immunities secured by the Constitution of the United States and
is therefore liable to them in this action.

       80.     Governor Mills acted under color of State law in an oﬃcial capacity and
within the scope of their oﬃcial duties when issuing the Executive Orders.




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       81.    As a direct and proximate cause of the failure to provide any pre- or post-
deprivation process, the Named Plaintiffs and Class members suﬀered prejudice under
threat of criminal and civil sanctions.

       82.    Because Governor Mills failed to provide any pre- or post-deprivation review
of the orders and rules shuttering their businesses, the Named Plaintiffs and Class
members are suﬀering substantial losses of liberty and property:

       83.      The prejudice each of the Named Plaintiffs and Class members has
suﬀered would not have occurred but for Defendant’s deprivations of their liberty and
property interests.

       84.      The Named Plaintiffs and Class members seek a declaration that the
Executive Orders violate the procedural component of the Due Process Clause, and an
injunction against further infringements of their rights under this Clause as described in the
Prayer for Relief.

                      COUNT V SUBSTANTIVE DUE PROCESS

       85.      The Named Plaintiffs and Class members incorporate by reference
paragraphs 1 through 84 above as if fully set forth in this paragraph.

       86.      The Due Process Clause of the Fourteenth Amendment to the U.S.
Constitution provides that no State can “deprive any person of life, liberty, or property,
without due process of law.” U.S. Const. amend. XIV, § 1, cl. 3.

       87.      The substantive component of the Due Process Clause prohibits
government from taking action that “shocks the conscience” or “interferes with rights
implicit in the concept of ordered liberty.” United States v. Salerno, 481 U.S. 739, 746
(1987).

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       88.     The Named Plaintiffs and Class members have a protected liberty interest
in the right to live without arbitrary governmental interference with their liberty and
property interests.

       89.     The Executive Orders shock the conscience and interfere with the Named
Plaintiffs and Class members deeply-rooted liberty and property rights, including the to
work, right to contract, and right to engage in commerce.

       90.     Each of the Named Plaintiffs and Class members could and can conduct
business in full compliance with all of the rules imposed on businesses allowed to operate
under the Executive Orders, or reasonably equivalent and equally safe measures tailored to
the unique nature of the in-person operations. Thus, the Executive Orders are not narrowly
tailored to achieve a compelling governmental interest.

       91.     Nor is there any rational basis to deprive the Named Plaintiffs and Class
members of their liberty and property interests in performing services for willing customers
when they can do so safely and in the same (or reasonably safe equivalent) manner as other
businesses allowed to operate.

       92.     In the alternative, the Executive Orders are not reasonably related to a
legitimate governmental interest.

       93.     Governor Mills acted under color of State law in an oﬃcial capacity and
within the scope of their oﬃcial duties when issuing the Executive Orders.

       94.     Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
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color of State law, subjected the Named Plaintiffs and Class members to a deprivation of
their rights, privileges and immunities secured by the Constitution of the United States and
is therefore liable to them in this action.

       95.      The Named Plaintiffs and Class members seek a declaration that the
Executive Orders violate the substantive component of the Due Process Clause, and an
injunction against further infringements of their rights under this Clause as described in
the Prayer for Relief.




                           COUNT VI EQUAL PROTECTION

       96.      The Named Plaintiffs and Class members incorporate by reference
paragraphs 1 through 95 above as if fully set forth in this paragraph.

       97.      The Equal Protection Clause of the Fourteenth Amendment to the U.S.
Constitution provides that no State can “deny to any person within its jurisdiction the
equal protection of the laws.” U.S. Const. amend. XIV, § 1, cl. 4.

       98.      The Executive Orders deprive the Named Plaintiffs and Class members
of the equal protection of the law because they allow some businesses to operate but not
the Named Plaintiffs and Class members businesses, even though they are similarly
situated.

       99.      Each Plaintiff could and can conduct business in full compliance with all of
the rules imposed on businesses allowed to operate under the Executive Orders, or
reasonably equivalent and equally safe measures tailored to the unique nature of the in-
person operations. Thus, the Executive Orders are not narrowly tailored to achieve a
compelling govern-mental interest.

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       100.     Nor is there any rational basis to deprive the Named Plaintiffs and Class
members of their liberty and property interests in performing services for willing customers
when they can do so safely and in the same (or reasonably safe equivalent) manner as other
businesses allowed to operate.

       101.     In the alternative, the Executive Orders are not reasonably related to a
legitimate governmental interest.

       102.     Governor Mills acted under color of State law in an oﬃcial capacity and
within the scope of their oﬃcial duties when issuing the Executive Orders.

       103.     Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected the Named Plaintiffs and Class members to a deprivation of
their rights, privileges and immunities secured by the Constitution of the United States and
is therefore liable to them in this action.

       104.     The Named Plaintiffs and Class members seek a declaration that the
Executive Orders violate the Equal Protection Clause, and an injunction against further
infringements of their rights under this Clause as described in the Prayer for Relief.

   COUNT VII DECLARATORY JUDGMENT SEPARATION OF POWERS

       105.     The Named Plaintiffs and Class members incorporate by reference

paragraphs 1 through 105 above as if fully set forth in this paragraph.


       106.     There is an actual and present controversy between the parties.

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       107.    The Named Plaintiffs and Class members contend that the Executive

Orders violate the Separation of Powers Clauses in Article III, Sections 1 and 2 of the

Maine Constitution and that the Executive Orders prohibit them from engaging activities

in which they would otherwise be free to engage under threat of criminal sanction.


       108.    The Separation of Powers Clauses in Article III of the Maine Constitution

provide:


       Section 1. The powers of this government shall be divided into 3 distinct
       departments, the legislative, executive and judicial.

       Section 2. No person or persons, belonging to one of these departments, shall
       exercise any of the powers properly belonging to either of the others, except in the
       cases herein expressly directed or permitted.

       109.    Maine Revised Statute 37-B, § 742 violates the Separation of Powers Clause
because it vests governors with total legislative power whenever a governor asserts the
existence of an emergency.

       110.    On information and belief, Governor Mills denies these contentions.

       111.    The Named Plaintiffs and Class members seek a judicial declaration that
the Executive Orders violate the Separation of Powers Clause, and a permanent injunction
against enforcement or adoption of these and similar orders and rules in the future as
described in the Prayer for Relief.

     COUNT VIII DECLARATORY JUDGMENT VIOLATION OF MAINE
                     REVISED STATUTE 37-B

       112.    The Named Plaintiffs and Class members incorporate by reference

paragraphs 1 through 111 above as if fully set forth in this paragraph.

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       113.    There is an actual and present controversy between the parties.


       114.    Maine Revised Statute 37-B, § 742 provides when the Governor should

declare a state of emergency and the Governor’s powers after declaring an emergency.


       115.    According to Maine Revised Statute 37-B, § 742, the Governor shall declare

a state of emergency in the State or any section of the State whenever a disaster or civil

emergency exists or appears imminent.


       116.    According to Maine Revised Statute 37-B, § 703, a disaster “means the

occurrence or imminent threat of widespread or severe damage, injury or loss of life or

property resulting from any natural or man-made cause, including, but not limited to, fire,

flood, earthquake, wind, storm, wave action, oil spill or other water contamination requiring

emergency action to avert danger or damage, epidemic, extreme public health emergency

pursuant to Title 22, section 802, subsection 2-A, air contamination, blight, drought, critical

material shortage, infestation, explosion, riot or hostile military or paramilitary action.”


       117.    Epidemics are listed as a potential natural or man-made cause that could lead

to a disaster, but the presence of an infectious disease does not alone qualify for this

classification. Therefore, the presence of COVID-19 within the state of Maine itself would

not constitute the occurrence or imminent threat of a pandemic causing widespread or severe

damages, injury or loss of life or property.




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       118.    As of May 14, 2020, the total confirmed cases for the State are 1,405 cases,

or approximately .01% of the Maine population. Of that number, there are 69 reported

deaths in Maine, or approximately .005% of the population.


       119.    Of the sixteen Counties in Maine, and as of May 14, 2020, four Counties

have 10 or fewer confirmed cases, Piscataquis (1), Washington (2), Aroostook (7), and

Hancock (10). Seven have 50 or fewer cases, Lincoln (15), Oxford (17), Somerset (18),

Knox (19), Sagadahoc (25), Franklin (31), and Waldo (50). Only five counties have 75 or

more cases, Penobscot (91), Androscoggin (109), Kennebec (113), York (277), and

Cumberland (778).


       120.    On January 8, 2020, the Bangor Daily News reported that 1,300 people

across the State had tested positive for the flu, or nearly 100 less individuals than the total

confirm cases of COVID-19. As of April 7, 2020, there were a reported 10,171 cases of

the flu, or more than seven times the current number of confirmed cases of COVID-19 in

the State and not taking into account new cases of the flu since April 7th.


       121.    Given these figures, an epidemic does not exist throughout the State of

Maine which would support declaring a statewide “disaster.”


       122.    Governor Mills’ Executive Orders do not make any attempt to narrowly

define the portion of Maine constituting a disaster or affected area and instead impose

blanket prohibitions on the entire state, including restrictions on residents leaving their

homes and the ability for businesses to operate.


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       123.     Governor Mills’ Executive Orders also include a mandatory quarantine for

anyone coming into Maine from another state regardless of the area of Maine the person

intends to visit or the condition of the prior location of the visitor.


       124.     These broad restrictions to control movement and business within the entire

State of Maine instead of within defined “affected areas” exceed the powers afforded to the

Governor under Maine Revised Statute 37-B, § 743, including the portions of the statute

cited in the Executive Orders.


       125.     Governor Mills’ Executive Orders have resulted in hundreds of thousands of

lost jobs and unemployment claims and the Orders themselves create an economic disaster

for the State of Maine if they stay in place through May 31, 2020 or longer as currently

ordered.


   COUNT IX DECLARATORY JUDGMENT VIOLATION OF NATURAL
           RIGHTS SECTION OF MAINE CONSTITUTION

       126.     The Named Plaintiffs and Class members incorporate by reference

 paragraphs 1 through 125 above as if fully set forth in this paragraph.


       127.    Article I, Section 1 of the Maine Constitution provides “[a]ll people are born

equally free and independent, and have certain natural, inherent and unalienable rights,

among which are those of enjoying and defending life and liberty, acquiring, possessing

and protecting property, and of pursuing and obtaining safety and happiness.” Me. Const.

Art. I, § 1.


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        128. Governor Mills issued the Executive Orders pursuant to Title 37B, Ch. 13.


        129.     Governor Mills, by issuing the Executive Orders, deprived the Named

Plaintiffs and Class members of their liberty, and their ability to acquire, possess, and

protect their property. Moreover, the executive orders further deprive the Named Plaintiffs

and Class members of the ability to obtain safety and happiness.


       130.     Said deprivation of rights has been in place since the implementation of the

first executive orders and continues each day the executive orders remain in effect.


        131.    To the extent that Title 37B, Ch. 13 authorizes the Governor to implement

the Executive Orders, Title 37B, Ch. 13 violates the natural rights section of the Maine

Constitution.


                  COUNT X VIOLATION OF TAKING CLAUSE

       132.     The Named Plaintiffs and Class members incorporate by reference

paragraphs 1 through 134 above as if fully set forth in this paragraph.


       133.     The Takings Clause of the Fifth Amendment of the Constitution of the

United States, applicable to the States through the Fourteenth Amendment, provides “nor

shall private property be taken for public use, without just compensation.” US. Cons.

Amend. V.




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        134. The Executive Orders prevent the Named Plaintiffs and Class members

from operating their business and thereby prevent the Named Plaintiffs and Class

members, individually, from generating revenue.


        135.    By preventing the Named Plaintiffs and Class members’ from operating

their respective businesses, the Executive Orders have damaged and harmed the Plaintiffs’

businesses and significantly impaired their use.


        136.    Accordingly, the Executive Orders deny the Named Plaintiffs and Class

members all economic use of their businesses and jeopardizes the continued viability of

their businesses.


        137. The Named Plaintiffs and Class members have not received just

compensation for the taking.


        138. Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected the Named Plaintiffs and Class members to a deprivation of
their rights, privileges and immunities secured by the Constitution of the United States and
is therefore liable to them in this action.




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   COUNT XI FAILURE TO COMPLY WITH NOTICE AND COMMENT
                        RULEMAKING

        139. The Named Plaintiffs and Class members incorporate by reference

paragraphs 1 through 138 above as if fully set forth in this paragraph.


        140. On April 29, 2020, the Governor issued Executive Order 49 FY 19/20, which

extended Executive Orders 14, 19, 28, and 34.


        141. Executive Order 49 FY 19/20 also stated that the aforementioned Executive

Orders were “subject to interpretive guidance. Such guidance includes, but is not limited

to, the implementation of the Restarting Plan . . . .”


        142. The Order continues and states that the Department of Economic and

Community Development (“DECD”) “shall implement the Restarting Plan. . . .”


        143. On April 29, 2020, the DECD posted “Restarting Maine’s Economy,” which

set forth policies and procedures for Maine Businesses to follow to reopen their businesses.


        144. Also on April 29, the DECD posted “Guidance on Governor’s Executive

Order 19 – Curbside Pickup,” which allowed non-essential retail businesses to take phone

and online orders. The same date, the DECD further announced “New Guidance on

Governor’s Executive Order 19 Regarding Places of Worship,” prohibiting in-person

gatherings among other requirements.


        145. On May 8, 2020, the Governor announced the “Rural Reopening Plan,”

which was simply inserted into the “Restarting Maine’s Economy” plan.

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        146. On May 27, 2020, the Governor announced new restrictions on restaurants

operating in York, Cumberland, and Androscoggin counties. These restrictions were also

inserted into the “Restarting Maine’s Economy” plan and available on the DECD website.


        147. 5 M.R.S. § 8052 requires:


       [p]rior to the adoption of any rule, the agency shall give notice as provided
       in section 8053 and may hold a public hearing, except that a public hearing
       must be held if otherwise required by statute or requested by any 5 interested
       persons or if the rule is a major substantive rule as defined in section 8071. .
       ..

       148. A “rule” is defined, in part, as:


       [T]he whole or any part of every regulation, standard, code, statement of policy, or
       other agency guideline or statement of general applicability, including the
       amendment, suspension or repeal of any prior rule, that is or is intended to be
       judicially enforceable and implements, interprets or makes specific the law
       administered by the agency, or describes the procedures or practices of the agency

 5 M.R.S. § 8002(9)

        149. The Legislature is also required to review certain agency rules, including
major substantive rules pursuant to 5 M.R.S. § 8071.

        150. The Governor’s Executive Orders, including Executive Order 28 FY 19/20
states that said order “shall be enforced by law enforcement as necessary and violations are
a class E crime subject to up to six months in jail and a $1000 fine.”

        151. The DECD failed to provide notice and comment rulemaking before
implementing the “Restarting Maine’s Economy” plan and all amendments thereto,
including the Rural Reopening Plan and the recent restrictions on restaurants operating in
Androscoggin, York and Cumberland Counties.


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          152. Furthermore, the DECD failed to comply with requisite notice and comment
rulemaking when implementing the Guidance on Curbside Pickup and Guidance regarding
places of worship.

                                   PRAYER FOR RELIEF

WHEREFORE, the Named Plaintiffs, individually and on behalf of the proposed Class
members respectfully ask the Court to grant them the following:

      1.     An order certifying the Class, appointing the Named Plaintiffs as Class
Representatives, and appointing their attorneys as Class counsel;

          2.     A declaratory judgment that the Executive Orders:

                 (a)   violate Plaintiﬀs’ State and Federal constitutional rights as set forth
          in this Complaint; and

                 (b)    violate the Separation of Powers Clauses of the Maine Constitution.

          3.      A declaratory judgment that Title 37B, Ch. 13 is unconstitutional and
          violates the natural rights section of the Maine Constitution;

          4.      A Declaratory Judgment that the DECD failed to comply with notice and
          comment rule making and violated the Maine Administrative Procedure Act.

          5.      An Injunction prohibiting Governor Mills from enforcing the Executive
Orders and from issuing any future orders or rules similar to the invalid ones described in this
action;

      6.          Reasonable attorneys’ fees, costs, and expenses under 42 U.S.C. § 1988
and any other applicable law;

     7.           Just compensation for the taking of the Plaintiffs’ property; and




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     8.        A preliminary and permanent injunction against enforcement of the
     “Restarting Maine’s Economy” plan and all additional rules promulgated by the
     DECD; and

     9.    Any other such further relief to which Plaintiﬀs may be entitled as a

matter of law or equity, or which the Court determines to be just and proper.

                                   JURY DEMAND

       Under the Seventh Amendment to the U.S Constitution and Rule 38(b) of the
Federal Rules of Civil Procedure, Plaintiﬀs demand trial by jury on all issues so triable.

                                   CONCLUSION

       As Justice Marshall stated “[h]istory teaches that grave threats to liberty often
come in times of urgency, when constitutional rights seem too extravagant to endure. .
. . [W]hen we allow fundamental freedoms to be sacrificed in the name of real or
perceived exigency, we invariably come to regret it.” Skinner v. Railway Labor
Executives’ Ass’n, 489 U.S. 602, 635 (1989) (Marshall, J., dissenting).




DATED: May 28, 2020                              /s/Stephen C. Smith
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